 8:11-cr-00296-RFR-SMB                  Doc # 49      Filed: 03/28/12         Page 1 of 1 - Page ID # 107



                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AM ERICA,                                     )
                                                               )                8:11CR296
                           Plaintiff,                          )
                                                               )
         vs.                                                   )                  ORDER
                                                               )
ANDRES LOPEZ,                                                  )
                                                               )
                           Defendant.                          )



         This m atter is before the court on the am ended m otion for an extension of tim e by defendant Andres

Lopez (Lopez) (Filing No. 48). Lopez seeks additional tim e in which to file pretrial m otions in accordance with

the progression order. Lopez has filed an affidavit wherein he consents to the m otion and acknowledges he

understands the additional tim e m ay be excludable tim e for the purposes of the Speedy Trial Act. Lopez's

counsel represents that governm ent's counsel has no objection to the m otion. Upon consideration, the m otion

will be granted, and Lopez's original m otion for an extension (Filing No. 46) will be denied as m oot.



         IT IS ORDERED:

         1.       Defendant Lopez's am ended m otion for an extension of tim e (Filing No. 48) is granted. Lopez

is given until on or before April 13, 2012, in which to file pretrial m otions pursuant to the progression order.

The ends of justice have been served by granting such m otion and outweigh the interests of the public and

the defendant in a speedy trial. The additional tim e arising as a result of the granting of the m otion, i.e., the

time between M arch 28, 2012, and April 13, 2012, shall be deem ed excludable tim e in any com putation

of tim e under the requirem ent of the Speedy Trial Act for the reason defendant's counsel requires additional

tim e to adequately prepare the case, taking into consideration due diligence of counsel, and the novelty and

com plexity of this case. The failure to grant additional tim e m ight result in a m iscarriage of justice. 18 U.S.C.

§ 3161(h)(7)(A) & (B).

         2.       Defendant Lopez's original m otion for an extension (Filing No. 46) is denied as m oot.



         DATED this 28th day of March, 2012.

                                                               BY THE COURT:


                                                               s/Thom as D. Thalken
                                                               United States Magistrate Judge
